               Case 2:10-cr-00585-JCM-BNW                             Document 115                Filed 03/10/15               Page 1 of 1
AO 247 (Rev. 11/11) Order Regarding Motion/Stipulation for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)   Page 1 of 2 (Page 2 Not for Public Disclosure)


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Nevada

                    United States of America
                               v.                                             )
                         JORGE MONTES
                                                                              )
                                                                              )    Case No:        2:10-CR-585-RLH-PAL
                                                                              )    USM No: 45580-048
Date of Original Judgment:                              03/02/2012            )
Date of Previous Amended Judgment:                      03/06/2012            )    Nisha Brooks-Whittington
(Use Date of Last Amended Judgment if Any)                                         Defendant’s Attorney


    ORDER REGARDING MOTION/STIPULATION FOR SENTENCE REDUCTION
                   PURSUANT TO 18 U.S.C. § 3582(c)(2)
   Upon motion/stipulation of   ✔ the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
                DENIED.               ✔
                                        GRANTED and the defendant’s previously imposed sentence of imprisonment (as
reflected in the last judgment issued) of 70               months is reduced to 57                                .
                                               (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                                 03/06/2012                 shall remain in effect.
IT IS SO ORDERED.

Order Date:                   03/10/2015
                                                                                                          Judge’s signature


Effective Date:               11/01/2015                                                U.S. DISTRICT JUDGE ROGER L. HUNT
                      (if different from order date)                                                   Printed name and title


                                                                                                                                           (Rev. for NVD 02/15)
